  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA      )
                              )   CRIMINAL ACTION NO.
     v.                       )       2:21cr49-MHT
                              )           (WO)
WILLIAM   RICHARD     CARTER, )
JR.                           )
            COURT’S INSTRUCTIONS TO THE JURY

Members of the Jury:

    It is now my duty to instruct you on the rules of

law that you must follow and apply in deciding this case.

After I have finished these instructions, you will go to

the jury room and begin your discussions--what we call

your deliberations.

                             I.

    It will be your duty to decide whether the government

has proved beyond a reasonable doubt the specific facts

necessary to find defendant William Richard Carter, Jr.,

guilty of the crimes charged in the indictment.   You must

make your decision only on the basis of the testimony and

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other evidence presented here during the trial; and you

must not be influenced in any way by public opinion or

by either sympathy or prejudice, based on race, gender,

or   income    or   any    other    factor,    for   or   against    the

defendant or the government.             Both the defendant and the

government expect a fair trial at your hands and that you

will    carefully    and    impartially        consider    this    case,

without prejudice or sympathy.

       You must also follow the law as I explain it to you

whether you agree with that law or not; and you must

follow all of my instructions as a whole.                  You may not

single out, or disregard, any of the court’s instructions

on the law.

       The indictment or formal charge against any defendant

is not evidence of guilt.            Every defendant is presumed

by the law to be innocent.              The law does not require a

defendant to prove innocence or to produce any evidence

at all; and if a defendant elects not to testify, you

must     not   consider      that       in   any   way    during    your


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deliberations.    The government has the burden of proving

a defendant guilty beyond a reasonable doubt, and if it

fails to do so, you must find that defendant not guilty.

    While the government’s burden of proof is a strict

or heavy burden, it is not necessary that a defendant’s

guilt be proved beyond all possible doubt.           It is only

required   that    the   government’s     proof   exclude    any

“reasonable doubt” concerning the defendant’s guilt.

    A “reasonable doubt” is a real doubt, based upon

reason and common sense after careful and impartial

consideration of all the evidence in the case.

     Proof beyond a reasonable doubt, therefore, is

proof of such a convincing character that you would be

willing to rely and act upon it without hesitation in

the most important of your own affairs. If you are

convinced that the defendant has been proved guilty

beyond a reasonable doubt, say so. If you are not

convinced, say so.

   As   stated    earlier,   you   must   consider   only   the

                               3
evidence that I have admitted in the case.      The term

“evidence” includes the testimony of the witnesses and

the exhibits admitted in the record.      Remember that

anything the lawyers say is not evidence in the case.

It is your own recollection and interpretation of the

evidence that controls.   What the lawyers have said is

not binding upon you.

   Also, you should not assume from anything I may have

said that I have any opinion concerning any of the issues

in this case.   Except for my instructions to you on the

law, you should disregard anything I may have said during

the trial in arriving at your own decision concerning the

facts.

    In considering the evidence you may make deductions

and reach conclusions which reason and common sense lead

you to make; and you should not necessarily be concerned

about whether the evidence is direct or circumstantial.

“Direct evidence” is the testimony of one who asserts

actual knowledge of a fact, such as an eyewitness.

“Circumstantial evidence” is proof of a chain of facts
                            4
and circumstances tending to prove, or disprove, any fact

in dispute.    The law makes no distinction between the

weight you may give to either direct or circumstantial

evidence.

   Now, in saying that you must consider all of the

evidence, I do not mean that you must accept all of the

evidence as true or accurate.    You should decide whether

you believe what each witness had to say, and how

important that testimony was.     In making that decision

you may believe or disbelieve any witness, in whole or

in part.      Also, the number of witnesses testifying

concerning any particular dispute is not controlling.

You may decide that the testimony of a smaller number

of witnesses concerning any fact in dispute is more

believable than the testimony of a larger number of

witnesses to the contrary.

    In deciding whether you believe or do not believe any

witness I suggest that you consider the demeanor and

manner in which the witness testified, and that you ask

yourself a few questions: Did the witness impress you
                             5
as one who was telling the truth?    Did the witness have

any particular reason not to tell the truth?     Did the

witness have a personal interest in the outcome of the

case?   Did the witness seem to have a good memory? Did

the witness have the opportunity and ability to observe

accurately the things he or she testified about?     Did

the witness appear to understand the questions clearly

and answer them directly?   Did the witness's testimony

differ from other testimony or other evidence?

    You should also ask yourself whether there was

evidence tending to prove that a witness testified

falsely concerning some important fact; or, whether

there was evidence that at some other time a witness

said or did something, or failed to say or do something,

which was different from the testimony the witness gave

before you during the trial.       To decide whether you

believe a witness, you may consider the fact that the

witness has been convicted of a felony crime involving

dishonesty or a false statement.

    You should keep in mind, of course, that a simple
                           6
mistake by a witness does not necessarily mean that the

witness was not telling the truth as he or she remembers

it, because people naturally tend to forget some things

or remember other things inaccurately. So, if a witness

has made a misstatement, you need to consider whether

it   was   simply   an   innocent   lapse    of   memory   or   an

intentional falsehood; and the significance of that may

depend on whether it has to do with an important fact

or with only an unimportant detail.

     The testimony of some witnesses must be considered

with more caution than the testimony of other witnesses.

In this case, the government has made plea agreements

with two testifying witnesses - Gregory Corken and

Thomas Sisk - in exchange for their testimony.              Such

“plea bargaining,” as it’s called, provides for the

possibility of a lesser sentence than each of these

individuals would normally face.            Plea bargaining is

lawful and proper, and the rules of this court expressly

provide for it.     However, these witnesses may also have

a reason to make a false statement in order to strike a
                                7
good bargain with the government.      So, while these kinds

of witnesses may be entirely truthful when testifying,

you should consider their testimony with more caution

than the testimony of other witnesses.         And the fact

that a witness has pleaded guilty to an offense is not

evidence of the guilt of any other person.

    When scientific, technical, or other specialized

knowledge might be helpful, a person who has special

training or experience in that field is allowed to state

an opinion about the matter.      But that does not mean

you must accept the witness’s opinion.         As with any

other witness’s testimony, you must decide for yourself

whether to rely upon the opinion.

    Charts or summaries have been prepared and admitted

into evidence and have been shown to you during the

trial for the purpose of explaining facts that are

allegedly    contained   in   books,    records,   or   other

documents which may or may not also be in evidence in

this case.    You may consider the charts and summaries

as you would any other evidence during the trial and
                          8
give them such weight or importance, if any, as you feel

they deserve.

    The indictment contains factual allegations.             You

may find the defendant guilty even if you do not find

the government has proven each and every one of the

factual allegations beyond a reasonable doubt.              The

government need only prove beyond a reasonable doubt

sufficient facts to satisfy the essential elements of

each charged offense.

                             II.

    The   defendant   in   this    case   is   William   Richard

Carter, Jr. The indictment charges 113 separate crimes,

called “counts” against him.        You will be given a copy

of the indictment.      You may refer to the indictment

during your deliberation.

    Count 1 charges the defendant with conspiring to

commit offenses against the United States. The offenses

the indictment alleges that the defendant conspired to

commit are: mail fraud and wire fraud.

                              9
       Counts 2 through 27, 29 through 69, 71 through 78,

86, 90, and 92, each charge the defendant with devising

and implementing a scheme to commit wire fraud.

       Counts 93 through 110 and 112 through 127 each

charge the defendant with aggravated identity theft.

       The following counts are not included for you to

consider: 28, 70, 79 through 85, 87 through 89, 91, and

111.     You are not to draw any inference from these

omissions.     You will also notice that portions of the

indictment have been redacted.    You are not to consider

these redactions or draw any inference from the presence

of the redactions.

       Please note that the defendant is not charged in

Count 1 with committing a “substantive offense”--he is

charged with conspiring to commit that offense.    I will

now explain to you the law associated with each of these

offenses.




                             10
                            Count 1
                          Conspiracy

    As noted in count 1, the defendant is charged with

conspiracy.    It is a separate federal crime for anyone

to conspire or agree with someone else to do something

that would be another federal crime if it was actually

carried out.

     A “conspiracy” is an agreement by two or more

people to commit an unlawful act.      In other words, it

is a kind of “partnership” for criminal purposes. Every

member of a conspiracy becomes the agent or partner of

every other member.

    The government does not have to prove that the

members planned together all of the details of the plan

or the “overt acts” that the indictment charges would

be carried out in an effort to commit the intended crime.

     The heart of a conspiracy is the making of the

unlawful plan itself followed by the commission of any

overt act.     The government does not have to prove that

the conspirators succeeded in carrying out the plan.
                             11
     A defendant can be found guilty of this crime only

if the government proves all the following facts beyond

a reasonable doubt:

         First: two or more persons in some
         way agreed to try to accomplish a
         shared and unlawful plan as charged
         in Count 1 of the indictment;

         Second:     the   defendant knew  the
         unlawful     purpose of the plan and
         willfully    joined with the specific
         intent to   defraud;

         Third: during the conspiracy, one of
         the conspirators knowingly engaged in
         at least one overt act; and

         Fourth: the overt act was committed
         at or about the time alleged and with
         the specific intent of carrying out or
         accomplishing some object of the
         conspiracy.


    An “overt act” is any transaction or event, even

one that may be entirely innocent when viewed alone,

that a conspirator knowingly commits to accomplish some

object of the conspiracy.

    A person may be a conspirator without knowing all the

details of the unlawful plan or the names and identities

                            12
of all the other alleged conspirators.            If the defendant

played only a minor part in the plan but had a general

understanding of the unlawful purpose of the plan and

willfully joined in the plan on at least one occasion,

that’s sufficient for you to find the defendant guilty.

     But simply being present at the scene of an event

or merely associating with certain people and discussing

common goals and interests doesn’t establish proof of a

conspiracy.    A     person     who    doesn’t     know     about     a

conspiracy but happens to act in a way that advances

some purpose of one doesn’t automatically become a

conspirator.

     Proof of several separate conspiracies is not proof

of   the   single,    overall     conspiracy      charged    in     the

indictment unless one of the several conspiracies proved

is   the   single     overall    conspiracy       charged    in     the

indictment.

     You   must      decide     whether   the     single     overall

conspiracy     charged    existed       between     two     or    more

conspirators and included the defendant.              If not, then
                                  13
you must find the defendant not guilty of that charge.

       But if you decide that a single overall conspiracy

charged in the indictment did exist, then you must

decide who the conspirators were.         And if you decide

that    the   defendant   was   a    member   of   some   other

conspiracy--not the one charged--then you must find the

defendant not guilty.     So to find the defendant guilty,

you must all agree that the defendant was a member of

the conspiracy charged--not a member of some other

separate conspiracy.

       In this case, regarding the alleged conspiracy, the

indictment charges that the defendant conspired with

his co-defendants to commit mail fraud and wire fraud.

In other words, the defendant is charged with conspiring

to commit two separate crimes.

                          Mail Fraud

       It is a federal crime to use the United States mail

in carrying out a scheme to defraud someone. A defendant

engages in the offense of mail fraud when he: (1)

knowingly and willfully devises or participates in a
                                14
scheme to defraud someone by using false or fraudulent

pretenses, representations, or promises; (2) the false

or fraudulent pretenses, representations, or promises

are about a material fact; (3) the defendant intends to

defraud someone; and (4) the defendant uses the United

States Postal Service by mailing or causing to be mailed

something to help carry out the scheme to defraud.

    In   a   case   involving    a    mail   fraud    charge,   the

government does not have to prove all of the details

about the precise nature and purpose of the scheme or

that the material mailed was itself false or fraudulent.

It also does not have to prove that the use of the mail

was intended as the specific or exclusive means of

carrying out the fraud, or that the defendant did the

actual mailing.      It doesn’t even have to prove that

anyone was actually defrauded.

    I will provide you with definitions of, and more

information    about,   the     terms   “scheme      to   defraud,”

“false,” “fraudulent,” “material fact,” “material,” and

“intent to defraud,” in a moment when I provide you with
                                 15
instructions on the offense of wire fraud.

    In this case, the defendant is not charged with

committing the actual offense of mail fraud.    Rather,

he is charged only with willfully conspiring to commit

mail fraud.   Accordingly, you do not need to consider

whether the defendant did each of the things that equate

to mail fraud.   Instead, you must only decide whether:

(1) there is proof beyond a reasonable doubt that the

defendant entered into an agreement to execute a scheme

to defraud; and (2) there is proof beyond a reasonable

doubt that United States mail was used in furtherance

of the scheme. The defendant may be guilty of conspiring

to commit mail fraud even if he did not specifically

agree to use the mail or have knowledge of the use of

the mail.     The government need only prove beyond a

reasonable doubt that it was foreseeable that the mail

would be used to carry out the scheme.




                           16
                             Wire Fraud

       It is a federal crime to use interstate wire, radio,

or television communications to carry out a scheme to

defraud someone else.          I will provide you with more

information about the actual offense of wire fraud in a

moment.

       Please keep in mind that you should consider the

conspiracy offense alleged in Count 1 separately from

the substantive wire fraud offenses alleged in Counts 2

through 27, 29 through 69, 71 through 78, 86, 90, and

92.    You may find the defendant guilty of conspiring to

commit wire fraud, even if you do not find that the

government       has   met   its    burden   of    proof    on   the

substantive wire fraud counts.

       When considering whether the government has proven

that the defendant conspired to commit wire fraud, you

must    decide    whether:    (1)    there   is   proof    beyond   a

reasonable doubt that the defendant willfully entered

into an agreement to execute a scheme to defraud; and

(2) there is proof beyond a reasonable doubt that wire
                                    17
communications in interstate commerce were transmitted

to help carry out the scheme to defraud.             The defendant

may be guilty of conspiring to commit wire fraud even

if   he   did   not    specifically     agree   to   transmit   wire

communication in interstate commerce or have specific

knowledge of the transmission of wire communications in

interstate commerce.          The government need only prove

beyond a reasonable doubt that it was foreseeable to

the defendant that wire communications in interstate

commerce would be used to carry out the scheme.

     The government does not have to prove that the

defendant willfully conspired to commit both crimes. It

is   sufficient       that   the   government   proves   beyond    a

reasonable doubt that the defendant willfully conspired

to commit one of those crimes.          But, to return a verdict

of guilty, you must all agree on which of the two crimes

the defendant conspired to commit.


           Counts 2-27, 29-69, 71-78, 86, 90, 92
                         Wire Fraud

     As noted, Counts 2 through 27, 29 through 69, 71
                                   18
through 78, 86, 90, and 92 each charge the defendant

with devising and implementing a scheme to commit wire

fraud.   As previously stated, it is a federal crime to

use interstate wire, radio, or television communications

to carry out a scheme to defraud someone else.

    The defendant can be found guilty of this crime only

if the government proves all the following facts beyond

a reasonable doubt:

         First:   the   defendant  knowingly   and
         willfully devised or participated in a
         scheme to defraud someone by using false
         or fraudulent pretenses, representations,
         or promises;

         Second:     the     false      pretenses,
         representations, or promises were about a
         material fact;

         Third: the defendant     acted   with   the
         intent to defraud; and

         Fourth: the defendant transmitted or
         caused to be transmitted by wire some
         communication in interstate commerce to
         help carry out the scheme to defraud.


    A “scheme to defraud” means any plan or course of

action intended to deceive or cheat someone out of money

                            19
or property by using false or fraudulent pretenses,

representations, or promises.

    A     statement        or   representation        is    “false”       or

“fraudulent” if it is about a material fact that the

speaker       knows   is    untrue     and    makes    with       reckless

indifference to the truth, and makes with the intent to

defraud.       A statement or representation may be “false”

or “fraudulent” when it is a half-truth, or effectively

conceals a material fact, with the intent to defraud.

    A    “material      fact”    is    an    important     fact    that    a

reasonable person would use to decide whether to do or

not to do something.            A fact is “material” if it has

the capacity or natural tendency to influence a person’s

decision. It does not matter whether the decision-maker

actually relied on the statement or knew or should have

known the statement was false.

    To     act   with      “intent    to    defraud”     means     to   act

knowingly and willfully with the specific intent to use

false    or    fraudulent       pretenses,      representations,          or

promises to cause loss or injury.                 Proving intent to
                                      20
deceive alone, without the intent to cause loss or

injury, is not sufficient to prove intent to defraud.

      To find the defendant guilty of wire fraud, you must

find beyond a reasonable doubt that an object of the

defendant’s scheme was to obtain the money or property

from the Alabama State Department of Education.              The

obtaining of the money or property need not be the sole

object of the defendant’s scheme, but it must be at

least one object of the scheme.

      The government’s intangible rights of allocation,

exclusion, and control-that is, its determination of

who should get a public benefit and who should not-do

not qualify as money or property.          Thus, a scheme to

cause the government to exercise its regulatory power

is not a violation of the wire fraud statute, unless

the   scheme   also   had   as   an   independent   object   the

obtaining of the government’s money or property.

      The government does not have to prove all of the

details alleged in the indictment about the precise

nature and purpose of the scheme.        It also does not have
                                 21
to prove that the material transmitted by interstate

wire was itself false or fraudulent; or that using the

wire was intended as the specific or exclusive means of

carrying out the alleged fraud; or that the defendant

personally made the transmissions over the wire.                     And

it does not have to prove that the alleged scheme

actually succeeded in defrauding anyone.

       To “use” interstate wire communications is to act

so that something would normally be sent through wire

communications in the normal course of business.                 Proof

of transmission of materials over the internet satisfies

the    interstate      wire   communications        element    of    the

offenses    so   long    as   that    transmission      was   made    in

furtherance of the scheme.            It does not matter whether

the government proves that specific data sent over the

internet traveled from one state to another.


                  Counts 93-110 and 112-127
                  Aggravated Identity Theft

       As noted, Counts 93 through 110 and 112 through 127

each    charge   the    defendant         with   aggravated   identity
                                     22
theft.     It is a federal crime to commit aggravated

identity theft.

    The defendant can be found guilty of aggravated

identity theft only if all of the following facts are

proved beyond a reasonable doubt:

         First:   the  defendant   knowingly   and
         willfully transferred, possessed, or used
         another person’s means of identification;

         Second: without lawful authority; and

         Third: during and in relation to the
         related felony alleged in the indictment.

    A “means of identification” is any name or number

used, alone or together with any other information, to

identify a specific person, including a name, Social

Security   number,    date    of    birth,    officially       issued

driver’s    license   or     identification       number,       alien

registration   number,       passport      number,    employer     or

taxpayer     identification             number,      or      electric

identification number or routing code.                    It can also

include a fingerprint, voice print, or other biometric

data.


                                   23
    The government must prove that the defendant knew

that the means of identification, in fact, belong to

another actual person, and not a fictitious person.

    The government must also prove that the defendant

knowingly    transferred,           possessed,     or   used   another

person’s    identity      “without        lawful   authority.”     The

government does not have to prove that the defendant

stole the means of identification.                 The government is

required    to    prove      that    the    defendant    transferred,

possessed,       or   used    the     other    person’s    means    of

identification for an unlawful or illegitimate purpose.

    The government also must prove that the means of

identifications was possessed “during and in relation

to” the crime alleged in the indictment.                  The phrase

“during and in relation to” means that there must be a

firm connection between the defendant, the means of

identification, and the crime alleged in the indictment.

The means of identification must have helped him with

some important function or purpose of the crime, and

not simply have been there accidently or coincidentally.

                                     24
The means of identification at least must facilitate or

have the potential of facilitating, the crime alleged

in the indictment.

                               III.

    It is possible to prove a defendant guilty of a

crime     even    without     evidence       that     the    defendant

personally       performed    every     criminal       act   charged.

Ordinarily, any act a person can do may be done by

directing another person, or “agent.”               Or it may be done

by acting with or under the direction of others.                      A

defendant “aids and abets” a person if the defendant

intentionally joins with the person to commit a crime.

A defendant is criminally responsible for the acts of

another person if the defendant aids and abets the other

person.      A    defendant    is     also   responsible       if   the

defendant willfully directs or authorizes the acts of

an agent, employee, or other associate.

    But finding a defendant is criminally responsible

for the acts of another person requires proof that the

defendant intentionally associated with or participated
                           25
in the crime – not just proof that the defendant was

present at the scene or knew about it.        In other words,

you   must   find   beyond   a   reasonable   doubt   that   the

defendant was a willful participant and not merely a

knowing spectator.

      Also, a defendant may be held responsible under the

law for a substantive offense in which he or she had no

direct or personal participation if the substantive

offense was committed by other members of the conspiracy

during the course of such conspiracy and in furtherance

of its objects and if the defendant was a member of the

conspiracy.

      So, regarding Counts 2 through 27, 29 through 69,

71 through 78,      86, 90, 92 through 110, and 112 through

127, if you have first found the defendant guilty of

the crime of conspiracy as charged in Count 1, you may

also find him guilty of any crimes charged in the other

counts even if you do not find that the defendant

personally participated in those crimes.        To do so, you

must find beyond a reasonable doubt:
                                 26
       First:   the   substantive   offense   was
       committed by a conspirator during the
       existence of the conspiracy as charged in
       Count 1 and in furtherance of its objects;

       Second: the defendant was a knowing and
       willful member of the conspiracy at the
       time of the commission of such offense;
       and

       Third: the commission of the substantive
       offense by a co-conspirator was a
       reasonably foreseeable consequence of the
       conspiracy.


                              IV.

    The indictment charges that a crime was committed

“on or about” a certain date.       The government does not

have to prove that the crime occurred on an exact date.

The government only has to prove beyond a reasonable

doubt that the crime was committed on a date reasonably

close to the date alleged.

    The word “knowingly,” as that term is used in the

indictment or in these instructions, means that the act

was done voluntarily and intentionally and not because

of mistake or accident.

    The word “willfully,” as that term is used in the
                             27
indictment or in these instructions, means that the act

was    committed   voluntarily    and   purposely,   with   the

specific intent to do something the law forbids; that

is with bad purpose either to disobey or disregard the

law.

                                  V.

       I caution you that the defendant is on trial only

for the specific crimes charged in the indictment.          You

are here to determine from the evidence in this case

whether the defendant is guilty or not guilty of those

specific crimes.

       Each count of the indictment charges a separate

crime.    You must consider each crime and the evidence

relating to it separately.        If you find the defendant

guilty or not guilty of one crime, that must not affect

your verdict for any other crime.

       You must never consider punishment in any way to

decide whether the defendant is guilty.        If you find a

defendant guilty, the punishment is for the Judge alone

to decide later.

                                 28
    Again, to repeat, the indictment or formal charge

against a defendant is not evidence of guilt.                 Also,

the allegations in the indictment are not evidence of

the defendant’s guilt. Rather, you must decide whether,

based on the evidence presented to you in court, the

government has proved beyond a reasonable doubt the

defendant’s guilt as to a particular count, before you

can find the defendant guilty of that count.

    You     should   remember   that    the    mere   fact    of   a

violation    of   state   law   is     not    sufficient     for   a

conviction, and the defendant here is not charged with

violating state law.

    “Good Faith” is a complete defense to a charge that

requires intent to defraud.      A defendant is not required

to prove good faith.      The government must prove intent

to defraud beyond a reasonable doubt.

    An honestly held opinion or an honestly formed

belief cannot be fraudulent intent – even if the opinion

or belief is mistaken.     Similarly, evidence of a mistake

in judgement, an error in management, or carelessness

                                29
cannot establish fraudulent intent.

    Your verdict, whether guilty or not guilty, must be

unanimous.   In other words, to return a verdict you must

all agree.   You must not engage in a compromise verdict,

meaning an agreement to resolve doubts among yourselves

by rendering a guilty verdict on some counts and a

not-guilty verdict on other counts.   Your deliberations

will be secret; you will never have to explain your

verdict to anyone.

    It is your duty as jurors to discuss the case with

one another in an effort to reach agreement if you can

do so.   Each of you must decide the case for yourself,

but only after fully considering the evidence with the

other jurors.    So you must discuss the case with one

another and try to reach an agreement.     While you are

discussing the case, do not hesitate to reexamine your

own opinion and change your mind if you become convinced

that you were wrong.    But do not give up your honest

beliefs just because others think differently or because

you simply want to get the case over with.

                            30
    Remember, that in a very real way, you are judges-

judges of the facts.    Your only interest is to seek the

truth from the evidence of the case.

    When you go to the jury room you should first select

one of your members to act as your foreperson.           The

foreperson will preside over your deliberations and will

speak for you here in court.

    Verdict     forms   have    been   prepared   for   your

convenience.    You will take the verdict forms to the

jury room and when you have reached unanimous agreement

you will have your foreperson fill in the appropriate

verdict forms, date and sign them, and you will return

to the courtroom.

    If you should desire to communicate with me at any

time, please write down your message or question and

pass the note to the Marshal, who will bring it to my

attention.    I will then respond as promptly as possible,

either in writing or by having you returned to the

courtroom so that I can address you orally.       I caution

you, however, with regard to any message or question

                               31
you   might   send,   that   you   should   not   tell   me   your

numerical division at the time.




                               32
